Case 2:03-cv-02352-.]PI\/|-tmp Document 113 Filed 06/03/05 Page 1 of 2 Page|D 106

 

IN THE UNITED s'rATEs DISTRICT coURT F"'ED B“"
FoR THE wEsTERN DISTRICT or TENNESSEE
wEsTERN DIvIsION 95 JUH “3 PH 3= |6

 

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ci.EP:z<. aj.'=:. §§s?s§.@fél?

COURTNEY MONTEZ MEANS, VVD OFTN MFMUMS
» v , l_ q § f

Pla.intiff,r

v. NO. 03-2352 Ml/P
SHE LBY COUNT'Y ,
CLA'YTON BLAIR ,
M.'ARK LOWE and

CIARENCE TURKS

v\_d\_d\_r\_dv~_dvvvvb_r

Defendants.

 

ORDER OF REFERENCE

 

Before the Court is Defendant's Motion for an Order
Requiring Plaintiff to Answer Interrogatories and Produce
Documents, or in the Alternative, to Dismiss the Case, filed on
May 13, 2005. This matter is referred to the United States
Magistrate Judge for report and recommendation. Any exceptions
to the magistrate judge's report shall be made Within ten {lO)
days of the magistrate judge's report, setting forth particularly
those portions of the order excepted to and the reasons for the

exceptions.

So ORDERED this`\~.,z day of June, 2005.

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J N P. MCCALLA
ITED STATES DISTRICT JUDGE

T;..s comment entered on the jocke'z sheet in compliance

with Fiule 58 and/Or 79(3) FHCP on

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Notice of Distribution

This notice confirms a copy of the document docketed as number 113 in
case 2:03-CV-023 52 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

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Honorable Tu Pham
US DISTRICT COURT

